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OR\G\NAL
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 THE CITY OF NEW YORK ,
                               Plaintiff ,

                 - against -
                                                    23 Civ. 5880 (LLS)
 MAGELLAN TECHNOLOGY , INC .; ECTO
 WORLD , LLC , D/B/A DEMAND VAPE ;                             ORDER
 MATTHEW J . GLAUSER ; DONALD HASHAGEN ;
 MAHANT KRUPA 56 LLC D/B/A EMPIRE
 VAP E DISTRIBUTORS ; NIKUNJ PATEL ;
 DEVANG KOYA ; STAR VAPE CORP .; NABIL
 HASSEN ; DORBES LLC , D/B/A
 HYDEVAPEOFFICIAL . COM; CHRISTIAN A.
 SMITH ,

                               Defendants .



      Defendants Magellan Technology, Inc. ; Ecto World , LLC ,

 d/b/a Demand Vape ; Matthew J . Glauser ; Mahant Krupa 56 LLC ,

 d/b/a Empire Vape Distributors ; Nikunj Patel ; and Devang Koya

 move for reconsideration of the Court ' s May 24 , 2024 Orde r

 (" Order " ) (Dkt . No . 103) , which denied defendants ' motion to

 dismiss claims under the City of New York ' s Prevent All

 Cigarette Trafficking Act ("PACT Act") ( Dkt . No. 52 , 63) .


      The limited grounds for reconsideration are "an intervening

 change of controlling law , the availability of new evidence, or

 the need to correct a clear error or prevent manifest

 injustice ." Virgin Atl . Airways, Ltd. v. Nat'l Mediation Bd.,

 956 F.2d 1245 , 1255 (2d Cir. 1992) (internal quotations and

 citations omitted) . Defendants do not assert any intervening

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change of controlling law or new evidence . Rather , they allege

the Court ' s Order was clear error and the PACT ACT ' s

requirements did not apply because : 1 . Defendants ' transactions

we r e int r astate , 2 . New York City does not levy an excise tax on

electronic nicotine delivery system products , and 3 . The

distributors were licensed and thus " lawfully operating " for

purposes of the PACT ACT .


     However , defendants argued each of these points in their

motions to dismiss .     (0kt . No . 53 at 8 - 13 ; 0kt . No. 64 at 6 - 7).

Reconsideration motions are not an opportunity for "relitigating

old issues " or " taking a ' second bite at the apple .' " Sequa

Corp . v . GBJ Corp ., 156 F . 3d 136 , 144     (2d Cir . 1998) . Nor are

they appropriate when defendants ' arguments "essentially accord

with those made , albeit much more briefly , in defendant ' s motion

to dismiss ." Meyer v . Kalanick , 185 F . Supp . 3d 448 , 452

(S . D. N. Y. 2016) . Defendants '   repeated arguments from their

original motions - which the Court considered and addressed in

its Order - do not meet the high bar for the " extraordinary

remedy " of reconsideration . In re Health Mgmt . Sys ., Inc. Sec .

Li tig ., 113 F . Supp . 2d 613 , 614     (S . D. N. Y. 2000) (" The Court

recognizes ' that reconsideration of a previous order is an

extraordinary remedy to be employed sparingly in the interests

of finality and conservation of scarce judicial resources. '" ) .



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      Defendants ' motions for reconsideration (Dkt . Nos . 117 ,

 119) are denied .


      So Or dered .


Dated : New York , New York
        December 2.n_, 2024
                                               L&j L.-StMuf(Yh
                                              LOUIS L . STAN TON
                                                  U. S . D. J .




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